UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------x Case No. 11-46867
In re:

MAN KIT NG,

                               Debtor.
------------------------------------------------x Adv. Pro. No. 12-01343
ROBERT L. GEL TZER, as Trustee for
the Estate of MAN KIT NG,

                        Plaintiff,
-against-

MAN KIT NG,

                       Defendant.
------------------------------------------x

                        REQUEST FOR JUDICIAL NOTICE – FRE 201

         The Defendant, Mat Kit Ng, rather the undersigned counsel, respectfully asks this Court

to take judicial notice of the decision in In re Brizinova, No. 12-42935-ESS, 2018 WL 3493547

(Bankr. E.D.N.Y. July 20, 2018) (the “Decision”), pursuant to FRE 201. See, Roe v. Johnson,

334 F. Supp. 2d 415, 419-20 (S.D.N.Y. 2004) (FRE 102(b) permits courts to take notice of the

public record, including court opinions). A copy of the Decision is annexed.

 The Defendant’s opposition (the “Opposition”) to the Plaintiff’s motion for sanctions (the

“Motion”), refers to the action generating the Decision. The Decision shows that action’s

outcome: dismissal.

         Taking judicial notice of the Decision is appropriate. The Decision is the kind of fact

subject to judicial notice. FRE 201(b), see Id. The court may take judicial notice at any stage of

the proceeding. FRE 201(d). The Decision post-dates the Motion’s prior submissions. It



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supplements the Motion’s record concerning the outcome of the action referred to in the Motion.

The Decision concerns facts which are material to the Motion.

WHEREFORE, the Defendant asks the Court to take judicial notice of the Decision.

Dated: July 25, 2018
New York NY                                   /s/_______________________
                                                    Karamvir Dahiya

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